                                                                                Case 3:17-cv-05211-WHA Document 30 Filed 09/14/17 Page 1 of 1



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                                                                          6                          IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
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                                                                         10   REGENTS OF UNIVERSITY OF
                                                                         11   CALIFORNIA and JANET NAPOLITANO in
United States District Court




                                                                              her official capacity as President of the                   No. C 17-05211 WHA
                                                                              University of California,
                               For the Northern District of California




                                                                         12
                                                                         13                 Plaintiffs,
                                                                                                                                          ORDER RE CASE
                                                                         14     v.                                                        MANAGEMENT
                                                                                                                                          CONFERENCE
                                                                         15   UNITED STATES DEPARTMENT OF
                                                                              HOMELAND SECURITY and ELAINE
                                                                         16   DUKE in her official capacity as Acting
                                                                              Secretary of the Department of Homeland
                                                                         17   Security,

                                                                         18                 Defendants.
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                                                                         20          The parties do not need to file a case management statement in advance of next

                                                                         21   Thursday’s hearing. The parties shall meet and confer as previously ordered, and further case

                                                                         22   management deadlines will be discussed at the conference.

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                                                                         24          IT IS SO ORDERED.

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                                                                         26   Dated: September 14, 2017.
                                                                                                                                     WILLIAM ALSUP
                                                                         27                                                          UNITED STATES DISTRICT JUDGE

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